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                                   1                                UNITED STATES DISTRICT COURT
                                   2                           NORTHERN DISTRICT OF CALIFORNIA
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                                   4    DELPHINE ALLEN, et al.,
                                                                                       Case No. 00-cv-04599-TEH
                                   5                  Plaintiffs,
                                   6           v.                                      ORDER RE: COMPENSATION OF
                                                                                       MONITOR AND COMPLIANCE
                                   7    CITY OF OAKLAND, et al.,                       DIRECTOR
                                   8                  Defendants.
                                   9

                                  10          Earlier this week, the Oakland City Council refused to approve the annual renewal
                                  11   of the Monitor’s and Compliance Director’s contracts. Rather than approve a one-year
                                  12   extension, the Council approved only a two-month extension. This is untenable.
Northern District of California
 United States District Court




                                  13          As the Court has repeatedly reminded the City, the Monitor and Compliance
                                  14   Director are appointed by and derive their authority from the Court, not from any
                                  15   contractual arrangement with the City. One example of this can be found in the Court’s
                                  16   April 10, 2013 order, which clarified that which should have needed no clarification:
                                  17                 To avoid any ambiguity, the Court makes explicit that which
                                                     should have been clear from the outset: The scope of the
                                  18                 Monitor’s work is governed by this Court and not by the
                                                     Monitor’s contract with the City. If the City contends that it
                                  19                 cannot pay the Monitor for any work ordered or directed by
                                                     this Court that may go beyond the contract, then the City shall
                                  20                 immediately notify the Court so that the Court can arrange for
                                                     payment of the Monitor’s reasonable fees and expenses
                                  21                 through the Court’s registry.
                                  22   Apr. 10, 2013 Order at 2 n.1. See also, e.g., Dec. 12, 2012 Order at 3 (“The Court expects
                                  23   the City to reach a prompt compensation agreement with the Compliance Director upon
                                  24   appointment. If an agreement or any payment is unduly delayed, the Court will order the
                                  25   City to pay the Compliance Director, as well as the Monitor, through the Court’s
                                  26   registry.”); Mar. 4, 2013 Order at 2 (“find[ing] it prudent to have the Compliance
                                  27   Director’s salary paid through the Court” and ordering the City to deposit sufficient funds
                                  28   to cover the first year of the Compliance Director’s salary).
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                                   1          The Monitor and current Compliance Director have previously reached contractual
                                   2   agreements with the City – albeit not always without delay – but such agreements are not
                                   3   required for their compensation. To avoid further delays, and to ensure the continuity of
                                   4   court oversight, the Court now orders that the Monitor and Compliance Director shall both
                                   5   be paid through the Court registry.
                                   6          Accordingly, IT IS HEREBY ORDERED that the City shall deposit $100,000 into
                                   7   the Court registry on or before February 1, 2017. Within fourteen calendar days of the
                                   8   entry of each order approving payment to the Monitor or Compliance Director, the City
                                   9   shall deposit the full amount paid by the order such that the funds on deposit are
                                  10   replenished to $100,000. When both the Monitor’s and Compliance Director’s services are
                                  11   terminated, the Clerk shall disburse to the City the balance of funds on deposit in the
                                  12   registry, including any earned interest.
Northern District of California
 United States District Court




                                  13          Finally, the Court notes that the timing of the City’s defiance is somewhat
                                  14   suspicious, coming a week after the undersigned announced that he will be taking inactive
                                  15   status later this year. Defendants are reminded that the Court’s announcement does not
                                  16   diminish its authority, and Defendants remain obligated to achieve substantial, sustainable
                                  17   compliance as a prerequisite to ending court oversight.
                                  18

                                  19   IT IS SO ORDERED.
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                                  21   Dated: 01/19/17                             _____________________________________
                                                                                    THELTON E. HENDERSON
                                  22                                                United States District Judge
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